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                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS


In     Independent Natural Resources, Inc.
Re:                                                                              ENTERED
       Debtor(s)                                       Case No.: 13−36248        04/11/2016
                                                       Chapter: 7


                                             ORDER CLOSING CASE


The estate has been fully administered. Therefore, the Court orders:

1. Ronald J Sommers is discharged as trustee of the estate.

2. The Trustee's bond is cancelled.

3. The case is closed.




Signed and Entered on Docket: 4/11/16
